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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF KENTUCKY
                             SOUTHERN DIVISION
                                 AT LONDON

 CIVIL ACTION NO. 2020-119 (WOB-

 HAI) DESTIL EUGENE TROXELL                                   PETITIONER

 VS.                                 ORDER

 DEEDRA HART, WARDEN                                          RESPONDENT


       This matter is before the Court on the Report and

 Recommendation of the Magistrate Judge (Doc. 16), and no

 objections having been filed thereto, and the Court being

 sufficiently advised,

       IT IS ORDERED that the Report and Recommendation (Doc. 16)

 be, and it hereby is, adopted as the findings of fact and

 conclusions of law of this Court; that petitioner’s Petition

 (Doc. 1) be, and is hereby, transferred pursuant to 28 U.S.C. §

 1631 to the United States Court of Appeals for the Sixth circuit

 for consideration whether the district court may review the

 petition in accordance with 28 U.S.C. § 2244(b); and              that

 petitioner’s Motion for Default Judgment (Doc. 12) be, and is

 hereby, denied as moot.       Judgment shall enter concurrently

 herewith.

       This 9th day of November, 2020.
